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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATE SBORO DIVISION
ANDREA FRANKLIN,                       )
    Movant,                            )
V.                                     )     Case No.        CV611-022
                                       )                     CR606-026
UNITED STATES OF AMERICA,              )
     Respondent.                       )

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      Let a copy of this Report and Recommendation be served upon movant and
counsel for respondent. Any objections to this Report and Recommendation must

be filed with the Clerk of Court not later than June 10, 2011. The Clerk shall
submit this Report and Recommendation together with any objections to the
Honorable B. Avant Edenfield, United States District Judge, on June 11, 2011.

Failure to file an objection within the specified time means that this Report and

Recommendation may become the opinion and order of the Court, Nettles v.
Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the right to appeal
the District Court's Order. Thomas v. Am, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the District
Judge to whom this case is assigned.
      SO ORDERED this 27th day of May, 2011.


                                                        UNITED STATES MAGISTRATE JUDGE
                                                        SOUTHERN DISTRICT of GEORGIA
